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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as the personal                               CASE NO.: 9:18-cv-80176-BB/BR
  representative of the Estate of David
  Kleiman, and W&K Info Defense
  Research, LLC

            Plaintiffs,

  v.

  CRAIG WRIGHT

            Defendant.

        DR. CRAIG WRIGHT’S MOTION TO ALLOW ELECTRONIC EQUIPMENT IN
                      THE COURTROOM FOR USE AT TRIAL


              In connection with the anticipated trial, beginning November 1, 2021 through the

       end of trial, Dr. Wright respectfully requests entry of an Order permitting the following

       trial attendees to bring in the following electronic devices and equipment:

                                         Electronic Device List:

       Name                   Equipment                        Make           Model

       Raquel Sanchez         Laptop with power adaptor        HP             Probook Windows 450GS
       Paralegal              Portable HotSpot                 Moxee          Tether 76_2.4G
       Rivero Mestre LLP      Cellular Phone                   Apple          iPhone 13 Pro
                              Portable Printer                 HP             Officejet Wireless Inkjet
                                                                              Multifunctional Printer
                              Tablet                           Microsoft      Surface Pro 7+
       Sarah Gonzalez         Laptop with power adaptor        Apple          MacBook ir
       Paralegal              Portable HotSpot                 Moxee          Tether 76_2.4G
       Rivero Mestre LLP      Cellular Phone                   Apple          iPhone 12 Pro
                              Portable Printer                 HP             Officejet Wireless Inkjet
                                                                              Multifunctional Printer
                              Tablet                           Microsoft      Surface Pro 7+
       Dr. Craig Wright       Cellular Phone                   Samsung        Galaxy S21 Ultra 5G
       Defendant
       Ramona Watts           Cellular Phone                   Apple          iPhone 12 Pro Max
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     Witness
     Mark Gerard            Laptop                            Apple          MacBook Pro
     Consultant             Cellular Phone                    Apple          iPhone XS
     Mark Linder            Laptop                            Apple          MacBook Air
     Consultant             Tablet                            Apple          iPad Pro 11
                            Cellular Phone                    Apple          iPhone X
     Amit Shah              Laptop                            Win10          Lenovo P51
     Hot Seat               Laptop                            Win10          Lenovo P12 Gen 1
     Trial Graphix          Cellular Phone                    Apple          iPhone 12 Pro
                            Hard Drive                        SanDisk        SanDisk External
                                                                             Encrypted Hard Drive
                            Mouse                             LogiTech       Logitech wireless mouse
                                                                             and mousepad
                            Switching Device                  ATEM           ATEM Switching device
                            Monitor                           Asis           ZenScreen External
                                                                             Monitor
                            Cables                            Various        Power cables, HDMI
                                                                             cables and extension
                                                                             cords


          Permitting the use of the electronic equipment will assist Dr. Wright with day-to-day trial

 logistics and will help streamline the case presentation. Accordingly, Dr. Wright respectfully

 requests the Court to permit its use in the courtroom from November 1, 2021 through the end of

 trial.



Date: October 25, 2021                                 Respectfully submitted,

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                                                     Counsel for Dr. Craig S. Wright


                                 CERTIFICATE OF SERVICE

        I CERTIFY that on October 25, 2021, I electronically filed this document with the Clerk of
 the Court using CM/ECF. I also certify that the foregoing document is being served this day on all
 counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                  /s/ Andres Rivero
